
Clayton Greene Jr., Senior Judge
Upon consideration of the Petition for Disciplinary or Remedial Action filed by Petitioner pursuant to Maryland Rules 19-721(a)(2) and 19-738 and the Respondent's response to the Court's Order to Show Cause, if any, it is 3rd day of January, 2017, by the Court of Appeals of Maryland;
ORDERED, that the Respondent, Michael David Dobbs, be and hereby is temporarily suspended from the practice of law in the State of Maryland pursuant to Maryland Rule 19-738(d) until further order of this Court; and it is further
ORDERED, that the Clerk of this Court shall remove the name of Michael David Dobbs from the register of attorneys in this Court and certify that fact to the Trustees of the Client Protection Fund of the Bar of Maryland and all Clerks of all judicial tribunals in this State in accordance with Maryland Rule 19-761(b).
